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Attorney for Plaintiff


                           IN THE FEDERAL DISTRICT COURT
                             FOR THE DISTRICT OF OREGON
                                    PORTLAND DIVISION


BRADLEY JOHN HACKLEY, an individual,              Case No.

                             Plaintiff,           COMPLAINT FOR DAMAGES
                                                  (EMPLOYMENT DISCRIMINATION)
              v.
                                                  Prayer: $155,000.00
LEGACY HEALTH, a corporation,
                                                  NOT SUBJECT TO MANDATORY
                                                  ARBITRATION
                             Defendant.
                                                  JURY TRIAL REQUESTED




       COMES NOW, Plaintiff Bradley Hackley, through counsel, and files this Complaint for
Damages against the above-named Defendant. Plaintiff alleges as follows:



                                          INTRODUCTION
       This case goes to heart of an individual’s fundamental right to free religious expression

and thought. This case also grapples with the very topical controversies surrounding
management of the COVID-19 pandemic and the vaccine mandates that have swept the nation.

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In the end, though, this case is about the Plaintiff and the unlawful religious discrimination he

suffered at the hands of his employer, Legacy Health.


                          JURISDICTION, VENUE, AND PARTIES
                                               1.

       Venue for this action is proper in the District of Oregon. The Plaintiff, Bradley Hackley,
lives in Portland, Oregon. Defendant is a corporation with more than 500 employees that does
regular, sustained business activity in the State of Oregon, and has its headquarters in Portland,
Oregon. Plaintiff exhausted his administrative remedies through the U.S. Equal Employment
Opportunity Commission and received a right-to-sue letter on or about September 28, 2022.

                                               2.

       At all material times, Plaintiff was a resident of Multnomah County, Oregon and worked
in Multnomah County, Oregon.

                                               3.
       At all material times, Defendant Legacy Health was regularly conducting business in the

State of Oregon, specifically at the Central Laboratory, Portland, facility.

                                               4.
       Plaintiff seeks a jury trial for all claims that can be tried to a jury under federal law.


                                   STATEMENT OF FACTS

                                               5.

       Plaintiff worked as a Medical/Laboratory Courier for two years at the Defendant’s
facility in Portland, Oregon. Plaintiff received excellent reviews and worked without issue until

the COVID-19 pandemic.
                                               6.

       Plaintiff is also deeply religious Intersectional Buddhist/Christian who is devoted to his
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faith. Plaintiff is dedicated to following the tenets of his faith to the best of his ability.

                                                 7.

        Until the COVID-19 pandemic unfolded, Plaintiff’s faith had not caused a conflict with
his work requirements.
                                                 8.

        The COVID-19 pandemic manifested in Oregon in late February of 2020. The pandemic
immediately represented a dramatic event in the lives of every Oregon resident, but particularly
individuals who worked in health care facilities. Like so many health care workers during the
pandemic, Plaintiff adjusted his life to best ensure the safety of his colleagues. Plaintiff did so
with little thought to his own self because of his dedication to his work and to the Defendant’s

patients. Plaintiff also scrupulously followed all of Defendant’s rules and regulations, to protect

against infection on his delivery route, which included the wearing of personal protective
equipment (herein, “PPE”), testing for COVID-19, hand-washing and other hygiene protocols,

social distancing when possible, and quarantining when necessary. In addition, Plaintiff
volunteered and provided COVID-19 screening services to employees and the public entering

the Central Laboratory.

                                                 9.
        In the summer of 2021, Plaintiff was notified that the Defendant would be implementing

and enforcing a vaccine mandate in the workplace. Plaintiff was informed that those individuals
with religious beliefs in conflict to the vaccine and/or to the taking of the vaccine could apply

for religious exceptions. As a devout Buddhist and Christian, Plaintiff had serious objections to

taking the vaccine because he believes that doing so would be committing a sin, grieve the Holy
Spirit and jeopardize his relationship with God. His faith also dictates that abortion is murder,

so the use of fetal cell lines from abortion, used to develop or test the COVID vaccines, violates
his sincerely held belief that to cooperate with or be involved with an abortion in any way,

however remote, is a sin against God and a violation of His Commandments, for which he
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would be held morally accountable.     On or about August 23, 2021, Plaintiff filed the formal

paperwork for a religious exemption.

                                              10.
       On September 27, 2021, Plaintiff was notified that his religious exemption had been
denied. Plaintiff was terminated on October 1, 2021.

                                              11.
       The termination of Plaintiff’s pay and medical benefits had a significantly negative
impact on his life. Plaintiff was receiving regularly scheduled epidural corticosteroid injections
for a pre-existing spinal cord injury and was unable to continue with treatment for over a year
after being terminated by Defendant, leading to unnecessary pain and suffering.

                                              12.

       The Defendant has yet to explain why, in its view, after nearly two years of being able to
work without incident during the pandemic, Plaintiff’s presence suddenly created an

“unacceptable health and safety risk” necessitating his termination. After Plaintiff was
terminated, Defendant’s policy required employees to show up to work even if they had been

exposed to Covid-19, if their symptoms could be treated with over-the-counter medication.

                                              13.
       Plaintiff’s termination date should be treated as October 1, 2021, based on the

Defendant’s termination of Plaintiff’s pay. Plaintiff was earning $17.50 an hour, for an annual
salary of approximately $33,600.

                                              14.

       Upon information and belief, the Defendant’s adverse employment actions against
Plaintiff were not, as claimed, to protect against an “unacceptable health and safety risk.”

Instead, those actions were discriminatory against Plaintiff based on his sincerely held religious
beliefs and retaliation for expressing those beliefs. There were reasonable accommodations

available to the Defendant with no undue burden on it that it failed to pursue. Instead, it took the
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most drastic employment action it could against Plaintiff with an unlawful discriminatory intent.

                                              15.

       Because of the Defendant’s unlawful termination of Plaintiff, Plaintiff has suffered
economic loss and emotional distress. He also has been ostracized and stigmatized unfairly for
his religious convictions.



                                FIRST CLAIM FOR RELIEF
                  (Unlawful Employment Discrimination Based on Religion
                        in Contravention of Or. Rev. Stat. § 659A.030)
       Plaintiff realleges all paragraphs above and below as if fully set forth herein.

                                              16.

       Plaintiff is a member of a protected class on the basis of his devout and sincerely held
religious belief in the tenants of Buddhism and Christianity.

                                              17.
       The Plaintiff’s sincerely held religious beliefs conflicted with the Defendant’s COVID-

19 vaccine mandate.

                                              18.
       When Plaintiff raised his well-founded and sincere religious objection to taking the

COVID-19 vaccine, the Defendant failed to make a good faith effort to accommodate Plaintiff’s
religious beliefs. It would not have been an undue hardship to have allowed Plaintiff to continue

working with PPE, regular testing, and other measures to protect against the spread of COVID-

19, as was done for the nearly two years before the imposition of the COVID-19 vaccine
mandate.

                                              19.
       Instead of finding a reasonable accommodation or set of accommodations for his

religious beliefs, the Defendant engaged in a series of adverse employment actions culminating
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in Plaintiff’s unlawful termination. The unlawful discrimination against Plaintiff’s religion by

Defendant as outlined above was a proximate cause of Plaintiff’s wrongful termination.

                                                  20.
        As a result of Defendant’s violation of O.R.S. 659A.030(1)(A), Plaintiff has been
damaged in an amount of no less than $55,000.00 in economic damages, or a different amount to

be determined at trial, and for non-economic damages in an amount to be determined at trial for
suffering, emotional distress, anguish, and mental distress. Plaintiff also seeks punitive damages.
Plaintiff further seeks attorney’s fees.
                                 SECOND CLAIM FOR RELIEF
      (Unlawful Discrimination in Contravention of Title VII of the Civil Rights Act –

                                         42 U.S.C. §2000e et seq.)


        Plaintiff realleges all paragraphs above and below as if fully set forth herein.

                                                  21.
Plaintiff is a member of a protected class on the basis of his devout and sincerely held religious

belief in the tenants of Christianity.

                                                  22.
        Plaintiff’s sincerely held religious beliefs conflicted with the Defendant’s COVID-19

vaccine mandate.
                                                  23.

        When Plaintiff raised his well-founded and sincere religious objection to taking the

COVID-19 vaccine, the Defendant failed to make a good faith effort to accommodate Plaintiff’s
religious beliefs. It would not have been an undue hardship to have allowed Plaintiff to continue

working with PPE, regular testing, and other measures to protect against the spread of COVID-
19, as was done for the nearly two years before the imposition of the COVID-19 vaccine

mandate.
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                                                24.

           Instead of finding a reasonable accommodation or set of accommodations for his

religious beliefs, the Defendant engaged in a series of adverse employment actions culminating
in Plaintiff’s unlawful termination. The unlawful discrimination against Plaintiff’s religion by
Defendant as outlined above was a proximate cause of Plaintiff’s wrongful termination.

                                                25.
           As a result of Defendant’s unlawful discrimination, Plaintiff has been damaged in an
amount to be determined at trial, but that exceeds $55,000.00, and for non-economic damages in
an amount to be determined at trial for suffering, emotional distress, anguish, and mental
distress. Plaintiff also seeks punitive damages. Plaintiff further seeks attorney’s fees.



                                      PRAYER FOR RELIEF
           WHEREFORE, Plaintiff demands judgment against Defendant and seeks the following

relief:
    1. A judgment in favor of Plaintiff and against Defendant on both claims in an amount to be

           determined at trial but exceeding $55,000.00.

    2. Plaintiff seeks a trial by Jury on all claims to which Plaintiff is entitled to a jury trial.
    3. Plaintiff’s reasonable attorney fees, costs, and prevailing party fees.

    4. Any other relief as the Court deems just and equitable.
    DATED this 28th day of December, 2022.


                                                JANZEN LEGAL SERVICES, LLC

                                                By /s/ Caroline Janzen
                                                Caroline Janzen, OSB No. 176233
                                                caroline@ruggedlaw.com
                                                Attorney for the Plaintiff



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